                                                                                 Case 1:12-cv-01636-AWI-SKO Document 44 Filed 10/31/13 Page 1 of 2

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                                                                            16                                 UNITED STATES DISTRICT COURT

                                                                            17                    EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

                                                                            18

                                                                            19   ASHLEE BRUM; PAULINE CAMPBELL;             ) Case No.: 1:12-CV-01636-AWI-SKO
                                                                                 JAMIE HENDERSON; KIMBERLY                  )
                                                                            20   JENNINGS; REGINA LINGENFELTER;             )
                                                                                 STEPHANIE O’BRIEN; MARYLYNN                ) STIPULATION OF DISMISSAL;
                                                                            21   PEREZ; NANICA RICHARD; ERICKA              ) ORDER THEREON
                                                                                 RIOS; GINA SALDANA; STEPHANIE              )
                                                                            22   SARGINSON; TONJA SEARLES; RUBY             )
                                                                                 VERGARA; IMELDA VIVERO; NICOLE             )
                                                                            23   WAGNER; et al.                             )
                                                                                                                            )
                                                                            24                          Plaintiffs,         )
                                                                                                                            )
                                                                            25          vs.                                 )
                                                                                                                            )
                                                                            26   COUNTY OF MERCED; MARK PAZIN,              )
                                                                                 Merced County Sheriff; et al.              )
                                                                            27                                              )
                                                                                                        Defendants.         )
                                                                            28

                                                                                                                           -1-
                                                                                 STIPULATION OF DISMISSAL; [PROPOSED] ORDER THEREON
                                                                                                                                                1:12-CV-01636-AWI-SKO
                                                                                 Case 1:12-cv-01636-AWI-SKO Document 44 Filed 10/31/13 Page 2 of 2

                                                                             1          IT IS HEREBY STIPULATED by and between the parties through their respective

                                                                             2   counsel of record that the above-referenced action be and hereby is dismissed without prejudice

                                                                             3   pursuant to FRCP 41(a)(1)(A).

                                                                             4          IT IS FURTHER STIPULATED AND AGREED by and between the parties through their

                                                                             5   respective counsel of record that each party shall bear its own costs and attorneys’ fees incurred

                                                                             6   in connection with this action.

                                                                             7

                                                                             8   Dated: October __, 2013               ABBEY, WEITZENBERG, WARREN & EMERY

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                                                                                 Dated: October __, 2013               JAMES N. FINCHER, MERCED COUNTY COUNSEL
                                                                            15

                                                                            16
                                                                                                                       By:
                                                                            17                                                 Roger S. Matzkind
                                                                                                                               Chief Civil Litigator
                                                                            18                                                 Attorneys for Defendants
                                                                            19

                                                                            20
                                                                                                                               ORDER
                                                                            21

                                                                            22          PURSUANT TO STIPULATION,
                                                                            23   IT IS SO ORDERED.
                                                                            24
                                                                                 Dated: October 31, 2013
                                                                            25                                               SENIOR DISTRICT JUDGE

                                                                            26
                                                                            27

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                                                                                 STIPULATION OF DISMISSAL; [PROPOSED] ORDER THEREON
                                                                                                                                                              1:12-CV-01636-AWI-SKO
